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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA

 INTERNATIONAL BROTHERHOOD OF                      Case No. 3:19-cv-3304
 ELECTRICAL WORKERS LOCAL 98 PENSION
 FUND, on behalf of itself and all others
 similarly situated,

                        Plaintiff,
 vs.

 DELOITTE & TOUCHE LLP and DELOITTE LLP,

                        Defendants.

        NOTICE OF SUPPLEMENTAL INFORMATION AND AUTHORITY
             REGARDING MARCH 16, 2023, MOTIONS HEARING

   Lead Plaintiff International Brotherhood of Electrical Workers Local 98 Pension Fund

(“Plaintiff” or the “Pension Fund”) files this Notice of Supplemental Information and Authority to

notify the Court about new information and legal authority relevant to Defendants’ second motion

to dismiss the Complaint recently scheduled for hearing on March 16, 2023.

   A. The Board’s Ratification and Authorization of the Pension Fund’s Continued
      Participation as Lead Plaintiff

   Deloitte’s entire premise for its second motion to dismiss is that the Board of Trustees for the

Pension Fund did not “authorize” the Pension Fund to “participate in this action” by voting on a

formal resolution at a Board meeting. ECF No. 132 at 1-2. Plaintiff disputes that claim, both

factually and legally, as it explains in its opposition. ECF No. 141. But in an abundance of caution,

and to avoid any implication otherwise, the Board of Trustees formally voted and approved the

following resolution at a recent Board of Trustees meeting:

        Being fully apprised of the facts by Fund co-counsel, the Trustees authorize the
        Fund’s continued participation as lead plaintiff in the matter of International
        Brotherhood of Electrical Workers Local 98 Pension Fund v. Deloitte & Touche
        LLP et. al., 19-cv-03304-MBS (D.S.C.). Class counsel shall report all
        developments as they occur and any decisions normally reserved to the client in
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        litigation shall be presented to the Board of Trustees, or a properly-constituted
        subcommittee thereof, for decision.

See Ex. 1 to the Declaration of Laura H. Posner, attached hereto as Exhibit A, at ¶ 2. This resolution

is documented in the minutes of the Board’s meeting, which were “presented, reviewed, and

approved at the meeting of the Board of Trustees held on February 24, 2023.” Id. This resolution

thus resolves any question about the Pension Fund’s authorization to participate as Lead Plaintiff

and Class Representative in this action.

   B. Judge Norton Clarifies the Distinction Between Organizational and Representational
      Standing

   While the Pension Fund’s recent formal ratification of its participation in this litigation alone

should result in denial of Defendants’ second motion to dismiss, a recent District of South Carolina

case, Moss Grove II Prop. Owners’ Ass’n, Inc. v. Lennar Carolinas, LLC, No. 2:22-cv-04287,

2023 WL 1997261, at *6 (D.S.C. Feb. 14, 2023) (Norton, J.), attached hereto as Exhibit B, which

“examined federal standing based on whether conditions of a litigation provision in a self-

governing contract were satisfied,” also supports denial of Defendants’ second motion to dismiss.

In Moss Grove II, a homeowner’s association sued a real estate developer for failing to maintain

certain common areas and structures. Id. at *1. The developer moved to dismiss, claiming that the

homeowner’s association “lack[ed] authority and d[id] not have standing to pursue litigation,”

because it had “not satisfied or strictly complied” with the association’s bylaws requiring approval

of litigation by 75% of association members. Moss Grove II, No. 2:22-cv-04287, ECF No. 4-1, at

3-4.

   In denying that motion, Judge Norton cited Sunset Homeowners Association, Inc. v.

DiFrancesco, which held “that the issue of whether an association complied with its internal

procedures only speaks to the existence of ‘representational standing,’ and not ‘organizational

standing.’” Moss Grove II, 2023 WL 1997261, at *6 (citing Sunset Homeowners Association, Inc.
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v. DiFrancesco, No. 1:19-cv-00016, 2019 WL 1597497, at *5 (W.D.N.Y. Apr. 15, 2019)). As

Judge Norton explained, in Sunset Homeowners, “[t]he court agreed to assume that a homeowner’s

association violated its bylaws by failing to obtain the approval of its Board of Directors prior to

initiating the lawsuit.” Id. (citing Sunset Homeowners, 2019 WL 1597497, at *5). “Even so,” Judge

Norton notes, the Sunset Homeowners court “found that ‘any such procedural irregularity does not

strip the Association of its standing to sue’” because the homeowners association was not

“bringing suit under a theory of associational or representational standing.” Id. (citing Sunset

Homeowners, 2019 WL 1597497, at *5). Instead, the homeowner’s association had “standing in

its own right to commence this action pursuant to a theory of ‘organizational’ standing, as opposed

to ‘associational’ or ‘representative’ standing.” Id. (citing White Tail Park, Inc. v. Stroube, 413

F.3d 451, 458 (4th Cir. 2005) (explaining that a plaintiff has organizational standing when it sues

“on its own behalf [and] seeks redress for an injury suffered by the organization itself”). Here, like

the homeowner’s associations in Sunset Homeowners and Moss Grove II, the Pension Fund is not

bringing suit under a theory of representational standing, but as a distinct legal entity that has

standing in its own right.

   Accordingly, even if there was a legitimate question about the Pension Fund’s authorization to

participate in this action—which there can no longer be—Moss Grove II shows why the Pension

Fund’s compliance with its own internal procedures (which were followed regardless) has no

bearing on its Article III standing—and, thus, this Court’s jurisdiction.
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Date: March 10, 2023                Respectfully submitted,

                                    /s/ William Tinkler

                                    TINKLER LAW FIRM LLC
                                    William Tinkler (D.S.C. Bar Number 11794)
                                    P.O. Box 31813
                                    Charleston, SC 29417
                                    Tel.: (843) 853-5203
                                    Fax: (843) 261-5647
                                    williamtinkler@tinklerlaw.com

                                    Liaison Counsel for the Proposed Class

                                    COHEN MILSTEIN SELLERS & TOLL PLLC
                                    Laura H. Posner
                                    Ji Eun Kim (Jessica)
                                    88 Pine Street, 14th Floor
                                    New York, NY 10005
                                    Tel: (212) 220-2925
                                    Fax: (212) 838-7745
                                    lposner@cohenmilstein.com
                                    jekim@cohenmilstein.com

                                    Steven J. Toll
                                    Jan E. Messerschmidt
                                    Molly J. Bowen
                                    1100 New York Ave. NW, Suite 500
                                    Washington, D.C. 20005
                                    Tel: (202) 408-4600
                                    Fax: (202) 408-4699
                                    stoll@cohenmilstein.com
                                    jmesserschmidt@cohenmilstein.com
                                    mbowen@cohenmilstein.com

                                    Lead Counsel for Lead Plaintiff
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                                CERTIFICATE OF SERVICE

   I certify that on March 10, 2023, I electronically filed this Notice of Supplemental Information

and Authority using the Court’s CM/ECF system. A copy of this filing will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing.


                                                /s/ William Tinkler
                                                William Tinkler
